          Case 1:06-cr-00279-JB-B                     Doc# 158           Filed 03/31/15             Page 1 of 1               PageID# 842
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                                                       Southern District of Alabama
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              WILLIAM THOMAS ROBERTSON                                          &DVH1R       06-00279-005
                                                                                8601R 10583-003
'DWHRI2ULJLQDO-XGJPHQW                            10-29-2009
'DWHRI3UHYLRXV$PHQGHG-XGJPHQW                                              Pro Se
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        8SRQPRWLRQRI u   ✔  WKHGHIHQGDQW u WKH'LUHFWRURIWKH%XUHDXRI3ULVRQV u WKHFRXUWXQGHU86&
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IT IS ORDEREDWKDWWKHPRWLRQLV
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the last judgment issued)RI                     PRQWKVis reduced to                                      

                                             (Complete Parts I and II of Page 2 when motion is granted)


ADDITIONAL COMMENTS
 A recalculation of the Guidelines based on the 2014 Amendment (782) results in the same Guideline range of 34.
 Because the defendant qualified as a career offender under U.S.S.G. Section 4B1.1 and the maximum statutory
 sentence for his offense was Life, his offense level is automatically adjusted to 37, regardless of the base offense level.
 With three points off for acceptance of responsibility, his guideline range remains at 34, and his original sentence of 183
 months is not eligible for reduction under Amendment 782.




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IT IS SO ORDERED
                                                                      Callie V.S. Granade                      Digitally signed by Callie V.S. Granade U.S. District Judge
                                                                                                               DN: cn=Callie V.S. Granade U.S. District Judge, o=U.S.
                                                                                                               Government, ou=Federal Judiciary,

2UGHU'DWH                  03-31-2015                               U.S. District Judge                      email=efile_granade@alsd.uscourts.gov, c=US
                                                                                                               Date: 2015.03.31 10:52:16 -06'00'
                                                                                                      Judge’s signature


(IIHFWLYH'DWH                                                                              United States District Judge
                     (if different from order date)                                                Printed name and title
